  SUPREME COURT OF THE STATE OF NEW YORK
  COUNTY OF ONONDAGA

  ROBERT PAZDZIERSKI

                             Plaintiff,
                                                                    Index No.: 006524/2021
  -v-
                                                                    Purchase Date: 07/26/2021
  DASEKE & CO., INC., ONX1, LLC,
  AND BIG GREIGHTS SYSTEMS, INC.

                             Defendants.


                         NOTICE OF ELECTRONIC FILING
                              (Mandatory Case)
                           (Uniform Rule § 202.5-bb)

                            You have received this Notice because:

   1) The Plaintiff/Petitioner, whose name is listed above, has filed this case using the New
      York State Courts E-filing system ("NYSCEF"), and

   2) You are a Defendant/Respondent (a party) in this case.

   ! If you are represented by an attorney:
   Give this Notice to your attorney. (Attorneys: see "Information for Attorneys" pg. 2).

   ! If you are not represented by an attorney:
   You will be served with all documents in paper and you must serve and file your
   documents in paper, unless you choose to participate in e-filing.

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or other device to convert documents into electronic format, a connection to the internet,
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        ! visit: www.nycourts.goviefile-unrepresented or
        ! contact the Clerk's Office or Help Center at the court where the case was filed.

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Court contact information can be found at www,nycourts.gov
To find legal information to help you represent yourself visit www,nycourthelp.gov

                             information for Attorneys
                        (E-filing is Mandatory for Attorneys)

An attorney representing a party who is served with this notice must either:

      1) Immediately record his or her representation within the e-filed matter on the
         NYSCEF site www.nycourts.gov/efile,; or

      2) File the Notice of Opt-Out form with the clerk of the court where this action is pending
         and serve on all parties. Exemptions from mandatory e-filing are limited to attorneys who
         certify in good faith that they lack the computer hardware and/or scanner and/or internet
         connection or that they lack (along with all employees subject to their direction) the
         knowledge to operate such equipment. [Section 202.5-bb(e)]

For additional information about electronic filing and to create a NYSCEF account, visit the
NYSCEF website at www.nycourts.gov/efile or contact the NYSCEF Resource Center (phone:
646-386-3033; e-mail: efile@nycourts.gov).


Dated: July 26, 2021


                                                                Rbl3ert A. Quattrocci, Esq.
                                                                215 Burnet Avenue
                                                                Syracuse, NY 13203
                                                                (315) 474-3742
                                                                Rquattrocci@stanleylawoffiCeS.COM


To:      Daseke & Co., Inc.
         6 Corporate Drive
         White Plains, New York 10604

         Onxl, LLC
         127 Fairbanks Avenue
         Winter Park, FL 32789

         Big Freight Systems, Inc.
         10 Hutchings Street
         Whinnipeg, MB R2X 2X1




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NYSCEF DOC. NO. 1                                                                               RECEIVED NYSCEF: 07/26/2021




             SUPREME COURT OF THE STATE OF NEW YORK
             COUNTY OF ONONDAGA,
                                                                                      Index No,: ()C)(06?-j1
                                                                                      Date Purchased:
                                                                                                      (;)'`11 ac0 I or-, t}O4,1
             ROBERT PAZDZ1ERSKI,                                                      SUMMONS

                                             Plaintiff,
                                                                                      Plaintiff designates
             MWA                                                                      ONONDAGA County as
                                                                                      the place of trial,
             DASEKE & CO, INC., ONX I, LLC
             AND BIG FREIGHTS SYSTEMS, INC,                                           The basis of venue is;
                                                                                      Plaintiffs Residence
                                            Defendants.
                                                                                      Plaintiff resides at:
                                                                                      4298 Amberwood Lane
                                                                                      Clay, New York

          To the above named Defendants:

                   You are hereby summoned to answer the complaint in this action, and to serve a copy of

          your answer, or, if the complaint is not served with this summons, to serve a notice of appearance on the

          Plaintiffs attorneys within twenty days after the service of this 8111111110118, exclusive of the day of service,

          where service is made by delivery upon you personally within the state, or, within 30 days after completion

          of service where service is made in any other manner. In case of your failure to appear or answer,

          judgment will be taken against you by default for the relief demanded in the complaint.



          Dated: July 15, 2021
                 Syracuse, NY

                                                                  R • BERT A. QUATTROCCI, ESQ.
                                                                  Stanley Law Offices, LLP
                                                                  Attorneys for Plaintiff
                                                                  215 Burnet Avenue
                                                                  Syracuse, New York 13203
                                                                  315-474-3742




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          TO:   Daselce & Co, Inc.
                6 Corporate Drive
                White Plains, New York 10604

                Onxl, LLC
                127 Fairbanks Avenue                                                              I.
                Winter Patic,, FL 32789

                Big Freight Systems, Jac,
                10 Hutchings Street
                Winnipeg MB R2X 2X1




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             SUPREME COURT OF THE STATE OF NEW YORK
             COUNTY OF ONONDAGA

             ROBERT PAZDZIERSKI,

                                            Plaintiff,
                                                                              COMPLAINT
             -v-
                                                                              Index No.: 0 (Y„.06(9tLI 1(9   ,1
                                                                              Date Purchased: Cl--1 ;a
             DASEKE & CO., INC., ONX1, LLC
             AND BIG FREIGHTS SYSTEMS, INC,,

                                            Defendants.




                   Plaintiff, by his attorneys, STANLEY LAW OFFICES, complaining of Defendant, respectfully

          alleges, upon information and belief:

             1. That at all times herein mentioned, Plaintiff was and still is an individual residing at 4298

                   Amberwood Lane, Clay, New York,

             2. Upon information and belief, that at all times herein mentioned, Defendant Daseke & Co,, Inc, is ,

                   a foreign corporation licensed to do business in the State of New York with a business address of

                   6 Corporate Drive, White Plains, New York,

             3. Upon information and belief, that at all times mentioned, defendant Onxi, LLC is a limited liability

                   corporation with a business address located at 127 Fairbanks Avenue, Winter Park, Florida,

             4. Upon information and belief, that at all times mentioned, defendant Big Freights Systems, Ina, is

                   a foreign corporation licensed to do business in the State of New York with a business address of

                   10 Hutchings Street, Winnipeg, MB, Canada,

            5, Upon information and belief, that at all times herein mentioned, on January 21, 2019, defendant




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                 Onxl, LLC was the owner of a property located at 6600 New Venture Gear Road, Syracuse, Now

                 York,

             6. Upon information and belief, on or before, January 21, 2019, defendant Big Freight Systems, Inc,

                 delivered a trailer to 6600 New Venture Gear Road, Syracuse, New York,

             7. Upon information and belief, defendant Daseke & Co., Inc. was the owner of that trailer,

             8, That on or about January 21, 2019, Plaintiff was lawfully on the aforesaid premises and engaged

                 in the course of his employment.

             9. That on or about January 21, 2019, Plaintiff while lawfully engaged in the course of his

                 employment was erecting the trailer that was delivered to the property.

             10, That on or about January 21, 2019, while erecting the trailer he was struck by a falling object and

                sustained serious injuries,

             11. That The Defendant, his agents, servants and/or employees, had the duty to provide the Plaintiff

                with a safe place to work.

             12, That the Defendant, his agents, servants and/or employees, had the non-delegable duty to see that

                the work area was kept reasonably safe and free of dangers and hazards to those workers lawfully

                thereat,




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                    13. Upon information and belief, and at all times hereinafter mentioned, this action falls within

                        one or more of the exceptions set forth in CPLR Section 1602, specifically Sections 2 and

                        7 thereof.

                            AS AND FOR A FIRST CAUSE OF ACTION AGAINST THE DEFENDANT,
                          PLAINTIFF RESTATES AND REALLEGES EACH AND EVERY ALLEGATION
                         CONTAINED IN PARAGRAPHS MARKED AND ENUMERATED "1" - "13" AS IF
                               HEREINAFTER SET FORTH IN FULL, AND FURTHER ALLEGES

                    14. Upon information and belief, the Defendants, their partners, officers, members, agents,

                        servants and/or employees were negligent, reckless, and careless in allowing a dangerous

                        condition to exist on the aforementioned premises for an extensive period of time and they

                        failed to warn the Plaintiff of the dangerous and defective condition. The Defendant, their

                        'auditors, officers, members, and/or agents were further negligent, reckless, and careless In

                        their failure to exercise due diligence in supervising, training, apprising and instructing its

                        employees and/or servants in their work and in the safe maintenance and general upkeep

                        of the aforementioned property, thereby creating an unsafe condition for persons lawfully

                        frequenting the area, the Plaintiff in particular. The Defendants, their partners, officers,

                       members, and/or agents were further negligent, reckless, and careless in their failure to

                       provide adequate barricades, warning signs, signals, or other devices to warn and apprise

                       the Plaintiff of the danger existing at the time and place of said accident. The Defendants,

                       their partners, officers, members, agents, servants and/or employees were further negligent,

                       In failing to erect the trailer. The Defendants were further negligent, reckless, and careless

                       in failing to use reasonable mid ordinary due care under the circumstances,

                    15, That as a result of the negligence, recklessness and carelessness of the Defendants, their•


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                         partners, officers, members, agents, servants and/or employees the Plaintiff was caused to

                        sustain serious personal injuries including but not limited to multiple vertebrae and

                        damages in the amount that exceeds the jurisdictional ilmits of all lower courts.

                           AS AND FOR A SECOND CAUSE OP ACTION AGAINST THE DEFENDANT,
                          PLAINTIFF RESTATES AND REALLEGES EACH AND EVERY ALLEGATION
                         CONTAINED IN PARAGRAPHS MARKED AND ENUMERATED "1" - "15" AS IF
                               HEREINAFTER SET FORTH IN FILL, AND FURTHER ALLEGES

                     16. The Defendant violated New York State Labor Law Sections 200, 240(1) and 241(6) and

                        the rules and regulations promulgated thereunder,

                     17, That as a result of the aforesaid statutory violations, the Plaintiff suffered serious and

                        permanent personal injuries.

                        WHEREFORE, Plaintiff demands judgment against the Defendants on the Causes of

                Actions described above in the sum that exceeds the jurisdictional limits of all lower courts

               together with the costs and disbursements of this action and for such other relief as this Court

               deems just and proper.



               Dated; July I S, 2021
                      Syracuse, NY

                                                                BERT A, QUATTROCCI, ESQ.
                                                             Stanley Law Offices, LLP
                                                             Attorneys for Plaintiff
                                                             215 Burnet Avenue
                                                             Syracuse, New York 13203
                                                             315-474-3742

               TO:     Daseke & Co, Inc.
                       6 Corporate Drive
                       White Plains, New York 10604


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                    Onxl, LLC
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                    10 Hutchings Street
                    Winnipeg MB R2X 2X1




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                                       VERIFICATION BY AFFIDAVIT



         STATE OF NEW YORK  )
         COUNTY OF ONONDAGA )ss,:


                 Robert Pazdziersld, being duly sworn, says:

                 I am a Plaintiff in the action herein: I have read the annexed Summons and Complaint

         and know the contents thereof, and the same are true to my knowledge, except those matters

         therein which are stated to be alleged upon information and belief, and as to those matters, I

        believe them to be true, My belief as to those matters therein not stated upon knowledge, is based

        upon facts, records, and other pertinent information contained in my personal files.



        DATED:



                                                               Robert Pazdzierski

        Sworn to before me this     6 4\
        day of

                                                            Edina Osmanovic
                                                    Notary Public State of New York
                                                             01O56313868
        NOTARY PUBLIC                                Qualified In Onondaga County
                                                    Commission Expires Oct 27, MAO-




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